                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

ERASTO ARROYO BARCENAS, et al.,                  §
     Plaintiffs, Individually and on             §
     Behalf of the Class of Those                §
     Similarly Situated,                         §
                                                 §
v.                                               §                   Case No. 1:22-cv-00397-RP
                                                 §
STEVEN MCCRAW in his individual                  §
capacity, et al.,                                §
       Defendants.                               §

     DEFENDANTS’ UNOPPOSED MOTION TO AMEND SCHEDULING ORDER

TO THE HONORABLE JUDGE ROBERT PITMAN:

       NOW COMES Defendants Steven C. McCraw, Greg Abbott, Bryan Collier, Brad Coe, and

Kinney County, Texas (“Defendants”) who file this unopposed motion to amend the Court’s

scheduling order. Defendants ask for one additional week to file their amended pleading in light of

Plaintiffs amending their complaint between entry of the Court’s original scheduling order and the

deadlines contained therein.

                                     STANDARD OF REVIEW

       “When an act may or must be done within a specified time, the court may, for good cause,

extend the time: (A) with or without motion if . . . a request is made before[] the original time or

its extension expires.” FED. R. CIV. P. 6(b)(1). District courts have “broad discretion to grant or

deny an extension.” Salts v. Eps, 676 F.3d 468, 474 (5th Cir. 2012) (quoting Wright & Miller, Fed.

Prac. & Proc. § 1165). “[A]n application for extension of time under Rule 6(b)(1)(A) normally will

be granted in the absence of bad faith on the part of the party seeking relief or prejudice to the

adverse party.” Fed. Prac. & Proc. § 1165.



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                                 ARGUMENTS & AUTHORITIES

       The current briefing schedule governs the defendants’ responsive pleading deadline as well

as the response and replies thereto. The schedule was entered when Plaintiffs’ Original Complaint

was the live-pleading. Compare Dkt. #1, with Dkt. #8. Plaintiffs have since amended their pleading.

See Dkt. #9, Dkt. #10. Defendants respectfully submit that good cause exists for amending the

current briefing schedule and respectfully asks the Court to amend the deadlines as follows:

                                                  ORIGINAL DEADLINE PROPOSED AMENDED
                                                                    DEADLINE
1. Defendants’ responsive pleading(s) shall be July 11, 2022        July 18, 2022
filed on or before                                                  (+1 week)
2. Plaintiffs’ response to Defendants’ August 24, 2022              August 31, 2022
responsive pleading(s), if any, shall be filed on                   (+1 week)
or before
3. Defendants’ reply in support of their September 9, 2022          September 16, 2022
responsive pleading(s), if any, shall be filed on                   (+1 week)
or before

                                             PRAYER

       For these reasons, Defendants respectfully ask the Court to enter an amended scheduling

order containing the aforementioned deadlines.

                                      Respectfully submitted,

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                                     Attorney General of Texas

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                               First Assistant Attorney General
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                            Deputy First Assistant Attorney General

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                          Deputy Attorney General for Civil Litigation

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Chief, General Litigation Division                   Chief, Law Enforcement Defense Division


                                                 2
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                                CERTIFICATE OF CONFERENCE

       I, Benjamin L. Dower, hereby certify that on July 5, 2022, I corresponded via email with

counsel for Plaintiffs, Susan E. Hutchison, who confirmed Plaintiffs’ non-opposition and indicated

that the new deadlines proposed herein were acceptable.

                                             /s/ Benjamin L. Dower
                                             Benjamin L. Dower
                                             Deputy Chief, General Litigation Division

                                   CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2022, a true and correct copy of the foregoing document was

served via the Court’s ECF system to all counsel of record.

                                             /s/ Benjamin L. Dower
                                             Benjamin L. Dower
                                             Deputy Chief, General Litigation Division




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